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l EASTEHN DlSTRICT OF CAL|FOR

. UN|TED STATES BANKRUPTCY COURT

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FOR PUBLICATION

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

FRESNO DIVISION
In re Case No. l()-'62549'-B-7
Marc Steven Bomarito` and DC No. UST-l
Felicia Nicole Bomarito, ~ DC No. UST-Z
D`ebtors. )

 

MEMORANDUM I)ECISION REGARDING UNITED STATES
TRUSTEE’s MoTIoNS FoR EXTENSIoN oF TIME AND FoR
DISMISSAL PURSUANT To 11 U.s.C. § 707(b)(3)(B)

Robin Tubesing, Esq., appeared on behalf of August B. Landis, Esq., Acting United
States Trustee.

Thoma_s H. Armstrong, Esq., appeared on behalf of the debtors, Marc and Felicia
Bomarito.

Under the Bankruptcy Code, any party in interest to a chapter 7 case filed by
an individual debtor may bring a motion to dismiss the case upon a Showing that the
granting of relief, a chapter 7 discharge, Would constitute an abuse of the provisions
of chapter 7. ll U.S.C. § 707(b)(l).l The Federal Rules of Banl<ruptcy Procedure

require, With one exception not applicable here,2 that a motion to dismiss for

 

lUnless otherwise indicated, all chapter, section and rule references are to the
Bankruptcy Code, ll U.S.C. §§ lOl-l330, and to the Federal Rules of Bankruptcy
Procedure, Rules 1001-9036, as enacted and promulgated after October l7, 2005, the
effective date of The Bankruptcy Abuse Prevention and Consumer Protection Act of 2005,
Pub. L. 109-8, Apr. 20, 2005, 119 Stat. 23.

2If the United States Trustee decides to move for dismissal based on “presumed
abuse” under § 707(b)(2), the United States Trustee must first flle a statement of presumed

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“abuse” must be brought not later than 60 days after the § 34l(a) meeting of
creditors, unless the court extends the time for cause. In this contested matter, the
court is asked to decide whether sufficient “cause” has been shown to warrant that
extension of time.

Before the court is a motion filed by August B. Landis, Esq., the Acting
United States Trustee (the “UST”), to dismiss this bankruptcy case pursuant to
§ 707(b)(3)(B) (the “Dismissal Motion”). The UST contends that this case is an
abuse of chapter 7 based on the totality of the circumstances Also before the court
is a motion to extend, for cause, the time in which the Dismissal Motion and/or an
objection to discharge under § 727(a) must be filed (the “Extension Motion”). The
debtors, Marc and Felicia Bomarito (the “Debtors”) contend that the UST failed to
diligently complete his investigation of the case within the allotted 60 days, that
there is no cause for extending the 60-day deadline, and that the Dismissal Motion is
untimely. The factors affecting the UST’s ability to investigate the circumstances
applicable to the Dismissal Motion are equally relevant to the “cause” question
raised in the Extension Motion. The court therefore directed that both matters be
briefed and heard together For the reasons set forth below, both the Extension
Motion and the Dismissal Motion will be denied.

This memorandum decision contains the court’s findings of fact and
conclusions of law required by Federal Rule of Civil Procedure 52(a), made
applicable to these contested matters by Federal Rule of Bankr'uptcy Procedure
7052. The bankruptcy court has jurisdiction over this matter pursuant to 28 U.S.C.
§ 1334, 11 U.S.C. § 707, and General Orders 182 and 330 ofthe U.S. District Court
for the Eastern District of California. This is a core proceeding as defined in 28

U.s.c. § 157(b)(2)(A).

 

abuse within 10 days after the meeting of creditors. § 704(b)(1). The motion itself must be
filed not later than 30 days thereafter. § 704(b)(2). “Presumed abuse” is not an issue in this
case.

 

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Background and Findings of Fact.

The Debtors filed their voluntary petition under chapter 7 on October 29,
2010. Robert H. Hawkins was appointed to serve as the chapter 7 trustee (the
“Trustee”). With the petition, the Debtors filed all required schedules and the
statement of financial affairs. The Debtors are individuals and their debts appear to
be primarily consumer debts. The schedules report assets worth $709,505. Those
assets include the Debtors’ residence valued at $574,000 and four automobiles
valued collectively at $121,655. The schedules list unsecured nonpriority claims
against the estate totaling $l73,097. The Debtors have no priority claims. Their
secured obligations, which consist of two mortgages against the residence and four
loans against the automobiles, total $997,089. The Debtors’ statement of intention
declares that the Debtors intend to retain and reaffirm the debts for their residence
and all four of the automobiles

The Debtor, Marc Bomarito, owns and operates an insurance agency. He
maintains an office and employs three people. His monthly income, consisting
solely of revenue from the insurance business, is stated on schedule I to average
$27,000 per month. The Debtors have a household size of six persons and their
income is well above the applicable median income for this state. Their expenses-,
reported on schedule J, including the business expenses, are more than $29,000 per
month. The Debtors’ mortgage payments exceed $5,000 per month and their
“vehicle expenses” are reported to be $2,700 per month. As “above median
income” Debtors, they were required to complete Form 22A, the chapter 7 means
test. The means test shows that the Debtors’ monthly disposable income, at the
commencement of the Case, was negative $4,269.50.

The first date set for the meeting of creditors under § 34l(a) was November
30, 2010. lt was continued to, and concluded by the Trustee on, December 10,
2010. Pursuant to Rules 1017(e)(1) and 4004(a), the last day for any party in

interest to bring -a motion to dismiss for abuse under § 707(b), or an objection to the

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Debtors’ discharge, was January 31, 2011.

During the meeting of creditors, the Trustee and the Debtors discussed at
length the amount of Mr. Bomarito’s prepetition insurance commissions At the
Trustee’s request, the Debtors agreed to amend their schedules to correctly report
the commissions and to turn over $7,500 which would represent the nonexempt
commissions The Trustee and the Debtors also discussed the Debtors’ residence
and their automobiles After the parties worked out the insurance commission
issues, the Trustee stated, “It [the turnover agreement] also accelerates the closing
. . . . We’ll have it wrapped up in a period of six months . . . . You’ll be in good

shape after that.”3

Nothing in the transcript of that meeting, which the Trustee
concluded, suggests that the Trustee had not also concluded his investigation of the
case. The UST did not attend the meeting of creditors and did not conduct any
subsequent examination of the Debtors Neither did the UST file the statement
Which is required by § 7 04(b)(l)(A) if the bankruptcy case is presumed to be an
abuse under § 707(b)(2).

After concluding the meeting of creditors, the Trustee filed a report
indicating that assets would be available for distribution and the court issued a
notice directing the creditors to file a proof of claim. Nineteen unsecured claims

y totaling more than $159,000 were timely filed.

On January 14, 2011, the Debtors filed four reaffirmation agreements one

for each of their automobiles (the “Reaffirmation Agreements”).4 Each of the

Reaffirmation Agreements state that the Debtors have a net monthly income after

 

3Reporter’ s Transcript, 13:12-17, December 10, 2010.

4The Debtors have committed to reaffirm the secured obligations for (1) a 2002 GMC
SLT Pickup (amount reaffirmed - $13,494.29 with a monthly payment of $323.62), (2) a
2008 Porsche 911 Carrera (amount reaffirmed - $66,677.46 with a payment of $1,162.80),
(3) a 2008 Mercedes Benz ML 350 (amount reaffirmed - $53,716.55 with a monthly
payment of $935.38), and ~(4) a 2009 Volkswagen Jetta (amount reaffirmed - $18,625.40
with a monthly payment of $348.82).

 

 

 

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payments due on the reaffirmed debts, in the amount of $229.38. All four
Reaffirmation Agreements are with State Farm Federal Credit Union and all were
signed by the Debtors and their attorney. The Reaffirmation Agreements therefore
became effective and binding, without the need for judicial review or approval,
immediately upon filing. See §§ 524(k)(3)(J)(ii) & (m)(Z). Altogether, the Debtors
have reaffirmed debts for their automobiles totaling $152,5 13.7 0 with monthly
payments totaling $2,770.62.

On January 31, 2011, the last day on which any party could file a motion to
dismiss under § 707(b), or an objection to discharge under § 727(a), the UST filed
the Extension Motion. The basis for the UST’s request is summarized in the
Extension Motion as follows: k

T he Chapter 7 Trustee and the United States Trustee are
still reviewin the Debtors ’ schedules and amended schedules
and other inj§rmation relevant to the Debtors’ case for issues
of possible abuse.

A]dditional time is required to conclude the United
States rustee ’s investigation and to accurately determine
whether a motion to dismiss or a complaint objecting to
debtors’ discharge is appropriate in this case.

Cause exists to extend the time to move to dismiss and
object to dischar e on the grounds that the Cha ter 7 Trustee
and the United tates Trustee_ have not conclu ed the
inii;lesctligation and entry of a discharge is premature (Emphasis
a e .

The sole evidentiary support for the Extension Motion is a declaration from
the UST’s staff attorney which states:

The Cha ter 7 Trustee and the United States Trustee are
still reviewing t e Debtors’ schedules and amended schedules
and other information relevant to the Debtors’ case for issues
of possible abuse.

Based on information available to date, additional time is
required to conclude the Chapter 7 Trustee and the United States
Trustee’s investigation and to evaluate the debtor’s financial
documentation

 

 

 

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The day after the UST filed the Extension Motion, Debtors’ counsel, Thomas
Armstrong, contacted the UST’s office and made arrangements to produce his
clients for an examination which was tentatively scheduled to take place on
February 17, 2011. The day after that conversation, the UST’s staff attorney sent an
einail cancelling the scheduled examination and requesting instead the production of
some “financial records” and “any written explanations [sic] regarding [the
Debtors’] financial affairs . . . .” On February 15, the staff attorney contacted Mr.
Armstrong and cancelled the informal document production request. She stated that
she had completed her “totality of the circumstances” analysis of the case based on
the documents already in the record. The Dismissal Motion was filed on March 2.
Nobody has filed an objection to the Debtors’ discharge or a complaint to determine
the dischargeability of a debt.

Issues Presented.

The UST filed a timely motion to extend the time prescribed under both Rule
1017(e)(l) and Rule 4004(a). The UST has not filed a complaint objecting to the
Debtors’ discharge so the extension request under Rule 4004 is moot. The UST
contends, based on the totality of the circumstances that the granting of relief in this
case, specifically a chapter 7 discharge, would constitute an abuse of the provisions
of chapter 7. Based on the Reaffirmation Agreements, the UST argues that the
Debtors may have sufficient disposable income to fund a chapter 13 plan and pay a
substantial dividend to their unsecured creditors With reference to the Debtors’
home and four expensive automobiles, the UST also argues that the Debtors live an
extravagant lifestyle with unnecessary and unreasonable expenses The Debtors
dispute the abuse issue on the merits They also contend that the Dismissal Motion
is untimely because it was not filed within the 60 days allowed in Rule 1017(e)(1)
for bringing such a motion. The Debtors’ opposition requires the court to first rule
on the issues raised in the Extension Motion.

In the Extension Motion, the UST requests additional time to file the

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Dismissal Motion. The USTargues in his supplemental brief that cause exists to
extend the time limit in Rule 1017(e)(l) because the alleged abuse was not apparent
until the Debtors filed the Reaffirmation Agreements seventeen days before the
deadline. The UST also contends that more time was required to review current
case law regarding the abuse issue.

Analysis and Conclusions of Law.

Applicable Law. The Bankruptcy Code offers three mutually exclusive
ways to determine when an individual debtor’s case constitutes an abuse of chapter
7. “Abuse” may be presumed based on the means test factors defined in §
707(b)(2). Alternatively, it may be established as a function of either bad faith
under § 707(b)(3)(A) and/or the totality of the circumstances under § 707(b)(3)(13).5
The UST brings the Dismissal Motion under § 707(b)(3)(B)6 “'[T]he purpose of
section 707(b)(3)(B) is to give courts greater discretion to dismiss a case that,
although not abusive under section 707(b)(2)’s mechanical means test, is shown to
be abusive based on its particular facts and circumstances.” United States Trustee v.
Hilmes (In re Hilmes), 438 B.R. 897, 907 (Bankr. N.D. Tex. 2010) (citations
omitted).

Pursuant to Rule 1017(e)(1), a motion to dismiss under § 707(b)(3) must be

 

5The UST did not move to dismiss for bad faith under § 707(b)(3)(A). Neither does
the UST contend that the lack of good faith is a circumstance to be considered in support of
either Motion.

6Section 707(b)(3) states in pertinent part:

In considering under paragraph (1) whether the granting of relief would be an
abuse of the provisions of this chapter in a case in which the presumption in
subparagraph (A)(l) of such paragraph does not arise or is rebutted, the court shall
consider-

(B) the totality of the circumstances (including whether the debtor seeks to
reject a personal services contract and the financial need for such rejection as sought
by the debtor) of the debtor’s financial situation demonstrates abuse.

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filed within 60 days after the § 341(a) meeting of creditors unless the court extends
the time for cause.7 The term “cause” as it applies here is not defined in the
Bankruptcy Code. The “cause” determination is therefore left to the discretion of
the bankruptcy court; it is fact-specific and must be made on a case-by-case basis
In re Molitor, 395 B.R'. 197, 205 (Bankr. S.D. Ga. 2008) (citations omitted).
Although the UST requests dismissal of the case to prevent abuse, he is really
objecting to the Debtors’ right to receive chapter 7 relief, in other words a chapter 7
discharge, on the grounds, inter alia, that the Debtors should be in chapter 13.
Indeed, § 707(b)(1) and Rule 1017(e) both give the court the authority to convert an
abusive chapter 7 case to chapter 13, in lieu of dismissal, if the debtor consents
The “for cause” term in Rule 1017(e)(1) must be read in conjunction with the same
“for cause” provision in Rule 4004(a) & (b) (which limits the time to object to a
debtor’s discharge), and in Rule 4007(c) (which limits the time to file a complaint to
determine the dischargeability of a debt). Each of those rules require that the
subject action be taken within 60 days after the § 341(a) meeting of creditors, unless
the court extends the time for cause. Since Rules 1017(e), 4004(a)‘& (b) and
4007(c) all deal essentially with the right to receive chapter 7 relief, then the
standard for application of the time limits in those Rules should be consistent
Identical words used in different parts of the Rules should be given the same
meaning. See Sullivan v. Stroop, 496 U.S. 478, 484 (1990) (citations omitted)
(applying the “normal rule of statutory construction” that identical Words used in the

same body of statutory law are intended to have the same meaning). Similarly, the

 

7Rule 1017(e)(1) provides:

Except as otherwise provided in § 704(b)(2), a motion to dismiss a case for abuse
under § 707(b) or (c) may be filed only within 60 days after the first date set for the
meeting of creditors under § 34l(a), unless, on request filed before the time has
expired, the court for cause extends the time for filing the motion to dismiss . . .
(Emphasis added.)

 

 

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court may look to cases interpreting the “for cause” exception in one of the Rules
for guidance in its application to the other Rules

The moving party has the burden of proof to show cause to extend the time
for matters relating to the debtor’s discharge. 'See In re_ Stonham, 317 B.R. 544, 547
(Bankr. D.Colo. 2004) (interpreting the “for cause” exception in Rule 4007(0)
which limits the time to file a dischargeability complaint). The same standard has
been applied to motions for additional time under Rule 1017(e)(1). Molitor, 395
B.R. at 205. The movant’s burden of proof cannot be “satisfied with only a scintilla
of evidence.’-’ Stonharn, 317 B.R. at 547. The movant.seeking an extension of time
for cause must “establish at least a reasonable degree of due diligence to be
accorded the requested extension.” Molitor, 395 B.R. at 205 (citing Stonham, 317
B.R. at 547).

The power to extend the 60-day deadlines prescribed in the Rules “rests
entirely within the discretion of the bankruptcy judge and should not be granted
without a showing of good cause, and without proof that the creditor acted diligently
to obtain facts within the bar date . . . but was unable to do so.” In re Farhid, 171
B.R. 94, 96, (N.D. Cal. 1994) (citation omitted). The power is to be exercised
cautiously and not where lack of diligence by the creditor appears Id. at 97
(citations omitted).

In early decisions where the courts were asked to interpret the “for cause”
term in the Rules, a split developed over the applicable standard, specifically with
regard to extensions of time to object to discharge. Some courts ruled that
extensions should be granted liberally absent a clear showing of bad faith. See In re
Desiderio, 209 B.R. 342, 345 (Bankr. E.D. Pa. 1997) (citation omitted). Other
courts denied the extension request unless the moving party could show that it had
promptly investigated the debtor’s circumstances Id. Later decisions tend to
follow the more restrictive view. “[T]he emerging standard in this area is away

from the more liberal standard and towards requiring the creditor to establish at least

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a reasonable degree of due diligence to be accorded an extension.” Id.

In rejecting the liberal standard for granting extensions of time, the Desiderio
court also looked for support to the Supreme Court’s decision in Taylor v. Freeland
& Kronz, 503 U.S. 638 (1992). In Taylor, the court strictly construed the 30-day
deadline in Rule 4003(b) for filing objections to a debtor’s exemptions 503 U.S. at
643-45. “Deadlines may lead to unwelcome results, but they prompt parties to act
and they produce finality.” Id. at 644. “Thus, the Taylor holding that any right to
an extension must be strictly construed should carry over to analysis of
discharge/dischargeability extensions.” Desiderio, 209 B.R. at 346.

The “strict construction” standard is further supported by the fact that Rule
9006(b), the general procedural rule for enlarging the time limits under the other
Rules, specifically excludes the deadlines in Rules 1017(e), 4004(a) and 4007(c)
from its application Rule 9006(b)(3).8 As a result of this exclusion, the courts may
not consider an untimely motion to enlarge the 60-day deadline in those Rules and
may not consider whether the failure to act was the result of excusable neglect.
Rule 9006(b)(l); See also Desiderio, 209 B.R. at 345.

One court, considering the request under Rule 4004(b) for an extension of
time to object to the chapter 7 discharge, compiled a list of “cause” factors which
the court should consider. In re Nowinski, 291 B.R. 302 (Bankr. S.D. N.Y. 2003).
The four Nowinski factors applicable here are: (1) whether the moving party had
sufficient notice of the deadline and information to file an objection, (2) the
complexity of the case, (3) whether the moving party has exercised diligence, and

(4) whether the debtor has been uncooperative or acted in bad faith. Id. at 305-06

 

8Rule 9006(b)(3) states in pertinent part:

Enlargement Governed By Other Rules. The court may enlarge the time for
taking action under Rules 1006(b)(2), 1017(e), 3002(c), 4003(b), 4004(a), 4007(c),
4008(a), 8002, and 9033, only to the extent and under the conditions stated in those
rules (Emphasis in original.)

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(citations omitted).

The Extension Motion is Not Sulmorted bv an Adeauat'e Showing_o_f
“Cause.” The Debtors’ opposition to both Motions begins with § 704(b)(1)(A)
which charges the UST with the responsibility to investigate, early in the case, all
chapter 7 cases, in which the debtor is an individual, for possible abuse of the
provisions of chapter 7.9 From that investigation, the UST must determine whether
there is a presumption of abuse, which might warrant dismissal under
§ 707(b)(2). Here, the UST did not pursue an action for presumed abuse but he did
acknowledge, through counsel at oral argument, that the investigation was
conducted within the allotted time and a determination was made to not seek relief
under § 707(b)(2). Based thereon, the Debtors argue that the UST’s investigation of
this case was essentially complete within ten days after conclusion of the § 34l(a)
creditor meeting.

ln response, the UST correctly points out that the time limits which define
the review process for presumed abuse do not apply here because the Dismissal
Motion only seeks relief based on the totality of the circumstances The UST’s
response misses the Debtors’ point. lmplicit in the “due diligence” inquiry are two
questions which must be addressed: (l) What effort did the UST make to
investigate the applicable circumstances within the 60 days allowed by the Rules,
and (2) Why wasn’t the UST able to complete that investigation within the allotted

time? The fact that the UST necessarily completed his “presumption of abuse”

 

9Subsection 704(b)(l)(A) provides:
With respect to a debtor who is an individual in a case under this chapter-

(A) the United States trustee (or the bankruptcy administrator, if any) shall review all
materials filed by the debtor and, not later than 10 days after the date of the first
meeting of creditors, file with the court a statement as to whether the debtor’s case
would be presumed to be an abuse under section 707(b).

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analysis within ten days after the meeting of creditors is highly relevant to both
questions

In support of the Extension Motion, the UST states only that the chapter 7
Trustee and the UST “are still reviewing the Debtors’ schedules and amended
schedules and other information relevant to the Debtors’ case for issues of possible
abuse.”10 Addressing first the UST’s argument with regard to the chapter 7 Trustee,
the statement appears to be completely unfounded The Trustee did not join in
either of the UST’s Motions There is no other evidence to suggest that the Trustee
has done, or intends to do, any further investigation of this case since he concluded
the meeting of creditors Indeed, the transcript of that meeting suggests that the
Trustee would complete his administration of the case as soon as the Debtors turned
over the insurance commissions as agreed in the meeting. At the Trustee’s request,
the court issued a notice of assets directing creditors to file proofs of claim. It
makes no sense that the Trustee would still be evaluating the case for possible
dismissal after he demanded the turnover of assets for distribution to the creditors

With regard to the UST’s investigation, the issue becomes more

problematic. The UST had notice of the applicable deadlines This does not appear
to be an unusually complex case and there is no evidence to suggest that the Debtors
acted in bad faith or were uncooperative with the UST’s investigation of the case.
The UST did not attend the § 341(a) meeting of creditors or make any effort to
conduct a further examination of the Debtors after conclusion of that meeting The
only action the UST took after conclusion of the § 341(a) meeting was to file the
Extension Motion in support of which the UST could only assert that he had not
completed the investigation and needed more time.

The UST contends that the abuse issue did not surface until the Debtors filed

the Reaffirmation Agreements, disclosing that they had sufficient disposable income

 

10US'l"s Motion to Enlarge Time. 113

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to fund a chapter 13 plan lt is true that the Reaffirmation Agreements were not
filed until seventeen days before expiration of the 60-day limitation period, but the
UST did not instigate any discovery after the Agreements were filed. The Debtors’
statement of intention, filed at the beginning of the case, disclosed their intention to
retain and pay for the automobiles The UST could have inquired about the
Debtors’ intention and the source of income to fund those debts long before the
Reaffirmation Agreements were actually filed. The UST could have made that
inquiry at the § 341(a) meeting or he could have scheduled a follow-up Rule
2004(a) examination The Debtors’ offer to appear for an examination and to
produce additional financial records before the hearing on these Motions was
declined by the UST. In the end, all of the documents and facts which the UST
relies upon in support of the Dismissal Motion were in the record before the 60-day
time limit expired.

The 60-day deadlines in the Rules strike a balance between the competing
interest of the debtors who want a fresh start, the creditors who would like to
receive payment of their claims, and the U.S. Trustee who is charged with the duty
to protect the bankruptcy system from abusive filingsll The relatively brief

deadlines for objections relating to chapter 7 relief are there to encourage

 

llThe competing policy considerations are discussed in Molitor as follows:

Tension exists between the Debtor’s interest in obtaining a prompt “fresh start” and
the UST’s statutory duties to prevent abusive bankruptcy filings The Bankruptcy
Rules strike a balance between these competing interests by providing the UST 60
days from the first date set for the § 341 meeting of creditors to review Debtor’s
filings, investigate, and if necessary, file a motion to dismiss Interim Bankruptcy
Rule 1017(e)(1). The UST may obtain additional time with a showing of “cause.”
Allowing the UST additional time when he has failed to diligently investigate would
ignore the mandated deadlines and diminish Debtor’s legitimate interest in a prompt
and speedy resolution of her bankruptcy case.

Molitor, 395 B.R. at 206.

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expeditious administration of the case. The short deadlines “give debtors some
degree of certainty in the process of obtaining a discharge.” In re Charnness, 312
B.R. 421, 423 (Bankr. D.Colo. 2004). “A Chapter 7 bankruptcy discharge entitles a
debtor to a ‘fresh start,’ therefore, the debtor has an interest in the prompt resolution
of all discharge issues.” In re Davis, 195 B.R. 422, 424 (Bankr. W.D. Mo. 1996)
(citation omitted). The deadlines can only be extended for cause. In this context,
“cause” is not shown when the moving party offers no evidence to show that he or
she has diligently prosecuted an investigation of the underlying issues and offers no
reasonable explanation why that investigation could not be completed within the
time allotted

Conclusion.

Proceedings which have the effect of denying chapter 7 relief to an
individual debtor must be brought within a relatively short period of time, as
provided in the Federal Rules of Bankruptcy Procedure. The courts have discretion
to extend that time, on noticed motion, based on a showing of cause. To establish

“cause,” the moving party must (1) make an affirmative showing that he or she has,

_ with reasonable diligence, attempted to investigate the facts and circumstances, and

(2) offer a reasonable explanation of why that investigation could not be completed
within the allotted time. In this case, neither issue is adequately addressed

Based on the foregoing, the court finds and concludes that the UST has not
sustained his burden to establish cause for the extension of time under Rule
1017(e)(1). Accordingly, the Extension Motion will be denied Since the Dismissal
Motion was untimely, the court does not need to rule on its merits The Dismissal

Motion will be denied as well.

Dated:April ZZ_Q ,2011

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United States Bankruptcy Judge

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